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                                  EXHIBIT 71




                                                                  Ex. 71 - 5972
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                                                                               Page 1
  1    UNITED STATES DISTRICT COURT
  2    SOUTHERN DISTRICT OF CALIFORNIA
  3    ----------------------------X
  4    TARLA MAKAEFF, et al., on
  5    Behalf of Themselves and All
  6    Others Similarly Situated,
  7                      Plaintiffs,
  8          -vs-                                 No. 3:10-CV-00940-CAB
  9    TRUMP UNIVERSITY,          LLC,
 10    et al,
 11                      Defendants.
 12    ----------------------------X
 13

 14    VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
 15                   San Francisco, California
 16                         October 15, 2012
 17

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 23    Reported by:
       Bonnie Pruszynski, RMR, CSR No. 13064
 24    JOB NO. 54291
 25



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                                                                                 Page 100
  1            A        I started my own real estate
  2    business.
  3            Q        What was that called?
  4            A        Aglow Properties.
  5            Q        A-G --
  6            A        L-O-W.
  7            Q        And what did Aglow Properties do?
  8            A        We represented high net worth
  9    individuals in acquiring rare pieces of property
 10    globally.
 11            Q        What was your general feeling when
 12    you left Trump University?                 Positive, negative?
 13            A        I was disappointed.
 14            Q        Did you believe that anybody at Trump
 15    University ever did anything unethical while you
 16    worked there?
 17            A        No.
 18            Q        To your knowledge, did anybody ever
 19    make a statement that you thought was not truthful
 20    while you worked there?
 21                     MS. ECK:         Objection.            Calls for
 22            speculation.
 23            Q        If you know.
 24            A        Not to my knowledge.
 25            Q        Do you know what Donald Trump's role

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                                                                            Page 111
  1    just saying that I had previously worked there,
  2    and left there for, you know, personal ethical
  3    reasons.
  4            Q        At any time while you were at Trump
  5    University, did you believe anything that Trump
  6    University was doing was dishonest?
  7            A        In a sense of stealing from people,
  8    no.   I don't think that they were breaking a law
  9    per se, in the sense of stealing from people.
 10            Q        All right.           Did you --
 11            A        But again, it breached my personal
 12    ethics.     I didn't feel comfortable with what they
 13    were doing.
 14            Q        And you already gave the examples;
 15    right?
 16            A        I did.
 17            Q        All right.           So, did you believe that
 18    they were doing anything that -- whether or not
 19    they were breaking any kind of laws, did you
 20    believe that what they were doing was dishonest?
 21            A        Sort of, yeah.
 22            Q        What did they do that you thought was
 23    dishonest?
 24            A        Actually, dishonest, no, but -- and
 25    who knows?     Maybe my personal ethics are held to a

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                                                                                 Page 112
  1    different standard, but I didn't believe that it
  2    was ethically right for me to continue working
  3    there.
  4            Q        And how about fraudulent?                     Anything
  5    that you saw that you thought was fraudulent while
  6    you worked there?
  7            A        No.
  8            Q        Do you have any information since you
  9    left your employment at Trump University that they
 10    have done anything fraudulent?
 11                     MS. ECK:         Objection.            Calls for
 12            speculation.
 13            A        No.
 14                     MS. ECK:         And calls for a legal
 15            conclusion.
 16            Q        Other than the one exchange with
 17    Ms. Makaeff, have you had any other communications
 18    with her in any context?
 19            A        No.
 20            Q        Did you save that Facebook exchange
 21    with her?
 22            A        I have no idea.                I -- maybe it's on
 23    my history of Facebook, but I don't know.
 24            Q        Did you make any effort in response
 25    to the request for documents to look?

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                                                                             Page 67
  1    talk to me much about it.                They just wanted me to
  2    go observe and learn as much as I could about the
  3    process of selling at a live event.
  4            Q        And based on the three days that you
  5    observed, did you find anything to be presented
  6    that was not true?
  7            A        No.
  8            Q        Were you asked to provide information
  9    to prospective purchasers that you thought was not
 10    true?
 11            A        No.
 12            Q        And, in fact, did you provide any
 13    information to prospective purchasers that was not
 14    true?
 15            A        No.
 16            Q        Did you interact with prospective
 17    purchasers?
 18            A        I did.
 19            Q        Can you recall any in particular?
 20            A        There was one couple that I spoke
 21    with, I don't remember off the top of my head
 22    sitting here -- I'm drawing a blank as to what
 23    their names were.          I believe their last names were
 24    Moore, and another -- another couple of guys that
 25    wanted to -- to partner together to do the -- to

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                                  EXHIBIT 72




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         Donald J. Trump, Sr.                                     September 12, 2012


                         IN THE UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA


             TARLA MAKAEFF, et al., on Behalf of
             Themselves and All Others Similarly
             Situated,
                    Plaintiffs,                           Civil Action No.
                            vs.                           3:10-CV-00940-
             TRUMP UNIVERSITY, LLC, et al.,               CAB(WVG)
                    Defendants.
             ___________________________________




                    Videotaped deposition of DONALD J. TRUMP, SR.
                    New York, New York
                    September 12, 2012




             Reported by:
             Gail L. Inghram Verbano:
             RDR, CRR, CSR-CA (No. 8635)


             Job No. 10003489


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           Donald J. Trump, Sr.                                   September 12, 2012


       1       of somebody else?
       2                   A      No.   I think they think that it's a

       3       company that's a successful -- very successful

       4       company.

       5                   Q      And it's successful because of you;
       6       correct?
       7                   A      Well, it's successful because of

       8       transactions; and lots of transactions over a period

       9       of years have added up to a great body of success,

      10       yes.

      11                   Q      And you oversaw those transactions;
      12       correct?
      13                   A      I did, yes.

      14                   Q      Do you know who Scott Leitzel is?
      15                   A      I know the name.    I don't know him.

      16                   Q      How about Michael Hinson?    Do you know
      17       who that is?
      18                   A      No.

      19                   Q      How about Stephen Gilpin?    Do you know
      20       who that is?
      21                   A      I think these are names of people that I

      22       taught where -- I think I know their names because I

      23       saw résumés, and I would see résumés of instructors,

      24       because it was important to me that we got good


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         Donald J. Trump, Sr.                                   September 12, 2012


      1     instructors.

      2                    So I don't know if that's what you're

      3     referring to.      But I've met numerous instructors, and

      4     I've also -- this is over a period of years.              And

      5     I've also seen the résumés of virtually everybody.

      6                    So that's where they sound familiar to

      7     me; and in some cases, I know them better because

      8     I've met them.

      9               Q    Sure.    Which instructors did you meet?
    10                A    I believe Donald Sexton and Mr. Caplan.

    11      I believe perhaps Childers.

    12                     I've met a number of them.         I don't know

    13      their names.     I mean, you're talking about years ago.

    14      This is actually years ago.

    15                     But I've met a number of instructors.              I

    16      wanted to see -- I really was very insistent that we

    17      get good instructors for the classes.

    18                     And I think the 97 percent bears that

    19      out, that we were successful in that regard.

    20                     But the concept of getting proper

    21      instructors was very important to me.

    22                Q    Now, when did you meet Donald Sexton?
    23                A    I don't know.      Years ago.

    24                Q    How many times did you meet him?


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         Donald J. Trump, Sr.                                   September 12, 2012


      1               A    I don't know.

      2               Q    Do you remember what you talked about?
      3               A    Just, I would have talked to everybody

      4     about the same thing.        I ask their experience.         I

      5     also gave them concepts of what I would like to talk

      6     about to students.

      7                    But I wanted each instructor to really do

      8     their own thing.      I wanted people with experience

      9     where they could talk about individual deals,

    10      different deals.

    11                     Actually, the classes were very

    12      different, because different instructors -- like when

    13      you go to a college and you have different

    14      instructors teaching, whether it's real estate or

    15      something else, I wanted instructors to be able to

    16      give individualized service based upon their

    17      experiences, not based on one standard rule of thumb

    18      because it's different.

    19                     As an example, different parts of the

    20      country are different.        You may have a whole

    21      different real estate mindset in Iowa than you do in

    22      California.     So the classes were very, very

    23      different.

    24                Q    And did you attend any of the three-day


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         Donald J. Trump, Sr.                                   September 12, 2012


      1                A   I don't know.      I really don't know.

      2                Q   Do you remember what the presentation
      3     was -- what was the format of the presentation?
      4                A   I don't know.

      5                Q   Is there any other details that you can
      6     tell me about the --
      7                A   The only detail, as I left, I was very

      8     impressed.

      9                Q   Okay.    Now, you said that you had met --
    10      previously you had met with Donald Sexton; is that
    11      correct?
    12                 A   I believe so.      Again, there were -- I

    13      remember some names.       There was a Mr. Gordon,

    14      Mr. Sexton, Mr. Childers, Mr. Caplan.

    15                     There were four or five names -- I don't

    16      know, you know, when you add them all up, because

    17      you're talking about years ago.            But some would come

    18      up to my office.       And I met with a number of the

    19      professors -- one was a professor at Columbia

    20      University who was very impressive.            That may have

    21      been Mr. Sexton.

    22                     But I was very impressed with the people

    23      that we had and the people that I met.            But in all

    24      cases I looked at applications.            In other words, in


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                                     107
         Donald J. Trump, Sr.                                   September 12, 2012


      1     some cases I didn't see them, but I'd look at their

      2     application when they applied and before we hired

      3     them.

      4                    And so I would be involved from that

      5     standpoint.     It was very important to me to make sure

      6     that good people represented what we were doing.

      7               Q    In terms of the people that you met with
      8     in your office, would that be in your calendar?
      9               A    No, it's so many years ago.         I don't have

    10      calendars from that many years ago.           You're talking

    11      about years ago.

    12                Q    Okay.     So you didn't keep a calendar in
    13      2004?
    14                A    I may have had a calendar, but I don't

    15      keep them for 10 years later.

    16                Q    Okay.     Now, which résumés did you look
    17      at?
    18                A    I don't know.      But many.

    19                Q    Sitting here, you can't remember?
    20                A    No.     But many, many résumés.

    21                Q    Okay.     How many?
    22                A    Like -- I can't say all, but I would say

    23      many of the people that taught, I, at a minimum,

    24      looked at résumés, yes.


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                                                                             Page 1
 1   UNITED STATES DISTRICT COURT
 2   SOUTHERN DISTRICT OF CALIFORNIA
 3   ----------------------------X
 4   TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and All
 6   Others Similarly Situated,
 7                      Plaintiffs,
 8          -vs-                                No. 3:10-CV-00940-CAB
 9   TRUMP UNIVERSITY,          LLC,
10   et al,
11                      Defendants.
12   ----------------------------X
13

14   VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
15                   San Francisco, California
16                        October 15, 2012
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23   Reported by:
     Bonnie Pruszynski, RMR, CSR No. 13064
24   JOB NO. 54291
25



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                                     107

                                                                                Page 175
 1           Q         How do you know that?
 2           A         Talking to them about it.
 3           Q         Just the way they spoke?
 4           A         No.    I believe that they told me that
 5   they didn't have formal education.
 6           Q         By that, you are talking about
 7   college?
 8           A         Correct.
 9           Q         And how old was Rami?                    How old would
10   you estimate?
11           A         Late 30s, early 40s maybe.
12           Q         And what were the Moores' education?
13           A         I don't know if I got into education
14   with them.
15           Q         The next part of that sentence says
16   that "Trump University preyed upon the elderly and
17   uneducated to separate them from their money."
18           A         I would say, I don't necessarily know
19   that "elderly" is accurate.                     I would -- I would
20   stand by uneducated, with the two examples that I
21   just gave of the Moores potentially and Rami.
22           Q         And what did Trump University do to
23   prey on the uneducated?
24           A         The -- "demographic" is not the right
25   word.       Just the overall scene in the room of the

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                                                                                   Page 178
 1   inquiries by consumers, you know, what they might
 2   be interested in?
 3           A         I did not.
 4           Q         So, your statement about preying on
 5   the uneducated, by that do you mean that it looked
 6   like the room had a lot of uneducated people in
 7   it?
 8           A         Correct.        I don't know if they were
 9   actually targeting those individuals, however.
10           Q         You don't have any information like
11   that?
12           A         I don't, no.
13                     MR. SCHNEIDER:                Let's go off the
14           record.
15                     THE VIDEOGRAPHER:                 We are off the
16           record at 12:02 p.m.
17                     THE VIDEOGRAPHER:                 This is the end of
18           disk number two.            Volume one.                 We are off
19           the record at 12:11 p.m.
20                     (Recess taken.)
21                     THE VIDEOGRAPHER:                 This is the
22           beginning of disk number three, volume one.
23           We are back on the record at 12:14 p.m.
24                     You may proceed.
25   BY MR. SCHNEIDER:

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                            EXHIBIT 74
                      Pages: 5989-6003


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                          Under Seal]
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                                 EXHIBIT 75




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                                                                             Page 1
 1

 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4   ----------------------------------X
     TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
     all Others Similarly Situated,
 6

                     Plaintiffs,
 7

             v.
 8

     TRUMP UNIVERSITY, LLC, et al,
 9

                     Defendants.
10   ----------------------------------X
11

12                  VIDEOTAPED DEPOSITION
13                             OF
14                    CORINNE A. SOMMER
15                    New York, New York
16                Wednesday, November 7, 2012
17

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24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54530

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                                                                               Page 88
 1                                C. Sommer
 2   testimonials from students?
 3          A.      No.
 4          Q.      Would that have been the marketing
 5   department?
 6          A.      That was Cheryl.
 7          Q.      Are you aware of any testimonial that
 8   was ever presented by Trump University that was
 9   not true or accurate?
10          A.      I believe I remember Cheryl
11   complaining to me that they wanted her to
12   compile inaccurate ones.
13          Q.      Inaccurate ones?
14          A.      Yes.
15          Q.      That's what she told you?
16          A.      Yes.      And her big problem was that
17   was not what she was hired for.                        She wasn't an
18   editor.
19          Q.      Did you discuss with any students at
20   any of the events or programs whether they liked
21   the programs that they went to?
22          A.      Did I discuss it during the program?
23          Q.      At any time.             You went to all these
24   events.
25          A.      Yes.

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                                                                                  Page 89
 1                                C. Sommer
 2          Q.      You went to free events, you went to
 3   three-day workshops, you went to advanced
 4   workshops, right?            So you were there interacting
 5   with the students and people, right?
 6          A.      Um-hmm.
 7          Q.      Yes?      You have to answer audibly for
 8   the court reporter.
 9          A.      I'm sorry.           Yes.
10          Q.      What was the general feedback you
11   were getting?
12          A.      It varied.           I mean we had them fill
13   out forms at the end of the events saying
14   whether they enjoyed it or not.                        I mean if
15   people came up and talked to you, it was either
16   they liked it or they didn't.                      You know, you
17   always get sort of a mixed bag of nuts, but the
18   only time I really got phone calls about it was
19   if someone was unhappy with something they paid
20   for.
21          Q.      Would you review the surveys?
22          A.      I tallied them up and I sort of just
23   gave them to the marketing department.                           I gave
24   them to customer service.
25          Q.      Who was that?

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                                                                               Page 90
 1                                C. Sommer
 2          A.      Brad Schneider.
 3          Q.      Did you ever discuss them with him?
 4          A.      I don't remember.
 5          Q.      Would you find at the same event that
 6   some people would express to you that they liked
 7   the event while others at that same event would
 8   say that they didn't like it?
 9          A.      Yes.
10          Q.      And were you able to determine that
11   why some people liked it and some people didn't
12   at the same event?
13                  MS. ECK:         Objection.             Calls for
14          speculation.
15          A.      No.     I wasn't really going into full
16   detail with people and I don't remember
17   conversations, specific conversations.
18          Q.      Did you ask people hey, what did you
19   like about it or why didn't you like it?
20          A.      No.     If someone complained about
21   something, obviously I, you know, my job running
22   the event was to try to defuse the situation.
23          Q.      And your job would be to report to
24   somebody else at the company if somebody was
25   unhappy with their experience, right?

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                                                                                Page 91
 1                                C. Sommer
 2           A.     Yes.
 3           Q.     Because Trump University told you
 4   that they want to improve the way they deliver
 5   education to the public, right?
 6                  MS. ECK:         Objection.             Lack of
 7           foundation.
 8           A.     That's not what they told me.                     That's
 9   just -- no.
10           Q.     Were you ever advised that Trump
11   University wanted to improve on its programs?
12           A.     I don't think it was necessarily
13   improve on his programs.                 I think it was expand
14   on his programs.
15           Q.     Well, one way to expand is to have
16   people happy and liking the program, right?
17           A.     Um-hmm.
18           Q.     Would you agree with that?
19           A.     Yes.
20           Q.     Did anybody at Trump University ever
21   tell you hey, if people complain, just ignore
22   them, we're not going to deal with anything like
23   that?
24           A.     I'm not customer service, so that
25   would be a conversation they would have with

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                                                                          Page 253
 1                              C. Sommer
 2   was supposed to be doing and then what Trump's
 3   role was there, because I felt like they were
 4   sort of stepping across the board sometimes.
 5   When they weren't actually affiliated with our
 6   company, they were just a sales team that were
 7   brought on by Mark Dove and they were crossing.
 8          Q.      What do you mean by crossing?
 9          A.      Just I think it had something to do
10   with their sales techniques.                    I don't remember,
11   I don't remember specifically, but I think it
12   had something to do -- something specifically
13   with me and Stamper, and Stamper was going
14   around me on something.               I don't remember what
15   it was.
16          Q.      So it was a territorial issue?
17          A.      I guess in --
18                  MS. ECK:       Go ahead.
19          A.      I guess in the sense of that I was
20   supposed to be running the event and he was
21   making calls without informing me.
22          Q.      Now you said you gave feedback on the
23   speakers.
24                  You would give that to David
25   Highbloom and Michael Sexton?

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                                                                            Page 254
 1                                C. Sommer
 2          A.      Yes.
 3          Q.      And this was based on your personal
 4   observations of them making presentations?
 5          A.      Yes.
 6          Q.      And did you have different views on
 7   different speakers?
 8          A.      Yes.
 9          Q.      Did you think some speakers were more
10   effective than others?
11          A.      I'm sure I did, but I don't remember
12   who specifically.
13          Q.      So give me an idea of some of the
14   types of comments or feedback you would give to
15   David Highbloom or to Michael Sexton about the
16   speakers.
17          A.      Well, for example, when the speakers
18   started trash talking Trump, called and said,
19   "We have an issue.            Why is this guy even
20   presenting?"
21          Q.      What else?
22          A.      Presenter is good.                  The people liked
23   him.    He's energetic.             Something of that nature.
24          Q.      And how would you know that people
25   liked him?

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                                                                      Ex. 75 - 6011
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6158 Page 27 of
                                     107

                                                                            Page 255
 1                              C. Sommer
 2           A.     The crowd really seemed excited.
 3           Q.     And did you have other programs that
 4   the crowd appeared not to like the speaker as
 5   much?
 6           A.     I think there were some presenters
 7   that appealed to the crowd more.                      Like I think
 8   Denise really, a lot of people were attracted to
 9   Denise's personality.             I think that's part of
10   being a presenter is you have to have that, you
11   know, personality and the ability to attract
12   people.
13           Q.     You liked her, didn't you?
14           A.     I did like her.
15                  And also J.J.           I think people really
16   liked J.J. as well.
17           Q.     Did you have the impression that
18   people were being duped watching these programs?
19           A.     I don't think I started realizing
20   that it was sort -- well, as I said, I sort of
21   started thinking that it was a Ponzi scheme like
22   halfway in, because it was the up-sell, up-sell,
23   up-sell, and I think it was sort of like when
24   nobody was -- there was no responses coming from
25   the mentors and it seemed very disheveled after

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                                                                      Ex. 75 - 6012
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                                                                 Ex. 76 - 6013
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 1   UNITED STATES DISTRICT COURT
 2   SOUTHERN DISTRICT OF CALIFORNIA
 3   ----------------------------X
 4   TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and All
 6   Others Similarly Situated,
 7                      Plaintiffs,
 8          -vs-                                No. 3:10-CV-00940-CAB
 9   TRUMP UNIVERSITY,          LLC,
10   et al,
11                      Defendants.
12   ----------------------------X
13

14   VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
15                   San Francisco, California
16                        October 15, 2012
17

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23   Reported by:
     Bonnie Pruszynski, RMR, CSR No. 13064
24   JOB NO. 54291
25



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                                                                    Ex. 76 - 6014
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6161 Page 30 of
                                     107

                                                                                Page 146
 1   off of the instruction of the courses.
 2           Q        When you say that he had the support
 3   of Gary Eldred, what do you mean?
 4           A        Gary Eldred wrote the curriculum.
 5   Mark was just doing the class facilitation.                       And
 6   so, I didn't think that Mark had a real -- you
 7   know, I didn't believe that he was an expert
 8   himself.
 9           Q        Did you ever see his resumé?
10           A        I did.
11           Q        And what would be the reason why you
12   would see that?
13           A        Because he was one of our
14   instructors.
15           Q        And did he present at the New York
16   live program?
17           A        He did not.
18           Q        Where did he present?
19           A        He did some of the classroom work for
20   the REIT program.
21           Q        You mean online?
22           A        Yes.      To my knowledge, he did not do
23   the actual instruction in market.                       So I don't
24   think he was one of the guys in the seminars.
25           Q        Hold on.

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                                                                          Ex. 76 - 6015
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                                     107

                                                                            Page 147
 1                    So, this Mark fellow, do you know
 2   what his last name is?
 3           A        I don't remember.                 No, I don't
 4   remember what it is.
 5           Q        So, he was teaching Gary Eldred's
 6   information; correct?
 7           A        He was.        And that was separate, aside
 8   from the -- from the seminars.                     So I am just going
 9   through why -- so the instructors, that is not in
10   relation to the seminars, that is just in general.
11           Q        Okay.      So, when you were talking in
12   this paragraph that you believe that most had
13   little or no personal experience, you were talking
14   about the online work?
15           A        For the instructors, yes.
16           Q        And the instructor you identified is
17   Mark, and he was teaching Gary Eldred's --
18           A        REIT program.
19           Q        REIT.
20           A        Yes.
21           Q        And you believe Gary Eldred is very
22   experienced in real estate; correct?
23           A        Yes.      The mentors --
24           Q        I'm sorry, just a minute.
25                    And that was the online program, Gary

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                                                                      Ex. 76 - 6016
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 1

 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4   ----------------------------------X
     TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
     all Others Similarly Situated,
 6

                     Plaintiffs,
 7

             v.
 8

     TRUMP UNIVERSITY, LLC, et al,
 9

                     Defendants.
10   ----------------------------------X
11

12                  VIDEOTAPED DEPOSITION
13                             OF
14                    CORINNE A. SOMMER
15                    New York, New York
16                Wednesday, November 7, 2012
17

18

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23

24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54530

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                                                                    Ex. 80 - 6048
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6166 Page 35 of
                                     107

                                                                                   Page 54
 1                                C. Sommer
 2   40 years old?
 3          A.      I have no idea of her age.                        I
 4   guess -- yes.
 5          Q.      Have you ever seen a document or a
 6   manual called The Playbook?
 7          A.      Not that I recollect.
 8          Q.      When you first started doing the
 9   events, did you have any kind of manuscript
10   about how chairs were supposed to be set up in
11   the room?
12          A.      No.
13          Q.      How did you determine how to set up
14   the room?
15          A.      I was doing everything myself.                        The
16   first event I went to was an event with
17   Dynetech.      They sent me down to Florida to see
18   how Dynetech was doing the events for them at
19   this time and so I basically took note of what
20   Dynetech had done and tried to recreate when I
21   started the event department without them.
22          Q.      Did you ever contact Dynetech?
23          A.      Yes.      I don't remember.                  There was a
24   girl, a girl who was about my age and then there
25   was her boss, who was a male, but I don't

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                                                                            Ex. 80 - 6049
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 1

 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4

     ----------------------------------X
 5   TARLA MAKAEFF, et al., on
     Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
 6   all Others Similarly Situated,
 7                   Plaintiffs,
 8           v.
 9   TRUMP UNIVERSITY, LLC, et al,
10                   Defendants.
     ----------------------------------X
11

12

13                  VIDEOTAPED DEPOSITION
14                             OF
15                    JASON NICHOLAS
16                   New York, New York
17                Thursday, November 8, 2012
18

19

20

21

22

23

24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54531


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                                                                    Ex. 81 - 6051
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6169 Page 38 of
                                     107

                                                                                 Page 117
 1                              J. Nicholas
 2   director so before he calls, he would have a
 3   list of notes based off the previous call that I
 4   had with them.
 5          Q.      Why would you want to know if they
 6   owed money on their cars?
 7          A.      If you're financially stable and
 8   then -- if your cars are paid off, then you have
 9   more likelihood of -- or we didn't even ask what
10   kind of car or that type of stuff.                          To gauge if
11   they're able to pay for the course or not.                           If
12   they have a credit.             If they have credit limit.
13   I mean if you can afford -- I mean that's just
14   -- I'm done with that question.                        I mean it's
15   just...
16          Q.      You're trying to ensure that someone
17   that might want the program has the ability to
18   afford it, right?
19          A.      Yes.
20          Q.      Have you ever seen a document or
21   booklet called the Playbook?
22          A.      If you showed it to me and it brought
23   back a memory I could say yes or no, but at this
24   time, no, I don't.
25          Q.      Did you ever use something called the

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Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6170 Page 39 of
                                     107

                                                                                 Page 118
 1                              J. Nicholas
 2   Playbook in your sales?
 3                  It's about a 200-page manual called
 4   the Playbook.
 5          A.      This is all I used, script.                       That's
 6   what I'm pointing to.
 7          Q.      Exhibit 2, right?
 8          A.      Yes.      That is the Playbook.
 9          Q.      Did you ever tell any people on the
10   phone that Trump University was an accredited
11   university?
12          A.      No.
13          Q.      And did you ever believe it was an
14   accredited university?
15          A.      No.
16          Q.      Anyone ever ask you?
17          A.      Yes.
18          Q.      And what did you tell them?
19          A.      No.     We -- I'm sorry.
20          Q.      Any estimate in the terms of
21   percentages of call-ins versus call-outs that
22   you were handling?
23          A.      I mean I would say it was -- it was
24   a situation where you have 10 to 15 sales
25   employees and I want to recall that there was

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                                                                           Ex. 81 - 6053
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                                 EXHIBIT 82




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 1   UNITED STATES DISTRICT COURT
 2   SOUTHERN DISTRICT OF CALIFORNIA
 3   ----------------------------X
 4   TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and All
 6   Others Similarly Situated,
 7                      Plaintiffs,
 8          -vs-                                No. 3:10-CV-00940-CAB
 9   TRUMP UNIVERSITY,          LLC,
10   et al,
11                      Defendants.
12   ----------------------------X
13

14   VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
15                   San Francisco, California
16                        October 15, 2012
17

18

19

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22

23   Reported by:
     Bonnie Pruszynski, RMR, CSR No. 13064
24   JOB NO. 54291
25



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                                                                    Ex. 82 - 6057
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6175 Page 44 of
                                     107

                                                                                 Page 57
 1   properties.      I don't remember what it was.
 2                    And I believe they received some type
 3   of coaching on how to use other people's money on
 4   purchasing real estate.
 5           Q        So, did you get any kind of written
 6   materials about how to sell these programs?
 7           A        I did not.
 8           Q        There is a manual called the
 9   playbook?      Have you ever seen that?
10           A        I have not.
11           Q        And you were not provided one?
12           A        No.     There were also some employees,
13   not Trump University employees.                      I don't know how
14   the employment structure was handled.                          But there
15   were other individuals that were selling these
16   programs at the New York City seminar.                         I don't
17   know who they were employed by or what they were
18   doing.
19           Q        So, there were -- there were people
20   in attendance that you knew were not from Trump
21   University that were selling Trump University
22   programs?
23                    MS. ECK:         Objection.
24           A        Correct.
25           Q        And you don't know who they are or

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                   EXHIBIT 85




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  1                  UNITED STATES DISTRICT COURT
  2                SOUTHERN DISTRICT OF CALIFORNIA
  3
  4
       TARLA MAKAEFF, BRANDON KELLER,
  5    ED OBERKROM, and PATRICIA
       MURPHY, on Behalf of Themselves
  6    and All Others Similarly
       Situated,
  7                                                No. 10 CV 0940 IEG (WVG)
                      Plaintiffs,
  8
            vs.
  9
       TRUMP UNIVERSITY, LLC, (aka
 10    Trump Entrepreneur Initiative) a
       New York Limited Liability
 11    Company, DONALD J. TRUMP, and
       DOES 1 through 50, inclusive,
 12
                      Defendants.
 13
 14    _________________________________________________________
 15
 16                  DEPOSITION of TARLA MAKAEFF
 17                     San Diego, California
 18                   Monday, January 30, 2012
 19                            Volume I
 20
 21
 22    Reported by:
       Kae F. Gernandt
 23    RPR, CSR No. 5342
 24    Job No. 130455
 25    PAGES 1 - 282

                                                                           Page 1

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Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6179 Page 48 of
                                     107
  1    and lease options and owner financing discussed, as                   12:39:13

  2    indicated on Item No. 13 in the table of contents?

  3            A.   I believe so.

  4            Q.   I'd like you to turn to TU-MAKAEFF 0354.

  5    At the top of this page it's entitled "Locating                       12:39:29

  6    Pre-foreclosures," and there's some handwriting

  7    under the "Notes" section.          Is all of the

  8    handwriting yours?

  9            A.   Yes.

 10            Q.   Is all of this information under the                     12:39:48

 11    "Notes" section information that you received during

 12    the three-day seminar?

 13            A.   Let me take a moment to read this.

 14                 Yes, it's information that they had

 15    spoken that I had written down.                                       12:40:09

 16            Q.   Was any of this information concerning

 17    the sale of other products by Trump University?

 18            A.   Not on this particular page.

 19            Q.   So, all the information that you wrote

 20    down on this page concerned content regarding                         12:40:23

 21    foreclosures?

 22            A.   Yes.

 23            Q.   Would you turn the page to 355.               Are

 24    those your notes?

 25            A.   Yes, they are.                                           12:40:35

                                                                            Page 81

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Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6180 Page 49 of
                                     107
  1            Q.     And does this pertain to the information               12:40:35

  2    that was being provided to you on this subject,

  3    lis pendens?

  4            A.     It appears to be, yes.

  5            Q.     All right.     And is all this content                 12:40:42

  6    base, it was concerning foreclosures, as opposed to

  7    selling some other products?

  8            A.     Yes.   However, a lot was sold during

  9    this, including a 35,000-dollar seminar.

 10            MR. SCHNEIDER:       Okay.    I'll object and move            12:40:52

 11    to strike as nonresponsive.

 12    BY MR. SCHNEIDER:

 13            Q.     The information on this page, your notes

 14    pertains to content that you wrote down of

 15    information they were providing to you during the                     12:40:59

 16    seminar, correct?

 17            A.     Yes.

 18            Q.     If you'll turn to page 357, are these

 19    your notes?

 20            A.     Yes.                                                   12:41:10

 21            Q.     And is this content that they were

 22    providing to you during the seminar?

 23            A.     Yes.

 24            Q.     Is there anything in these notes that

 25    pertained to selling other products of Trump                          12:41:16

                                                                            Page 82

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                                                                            Ex. 85 - 6069
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6181 Page 50 of
                                     107
  1    University?                                                           12:41:18

  2            A.    No.

  3            Q.    If you'll turn to page 359, is all this

  4    handwriting on this page yours?

  5            A.    Yes.                                                    12:41:28

  6            Q.    Is all this information that you're

  7    writing down that they are providing to you from the

  8    seminar?

  9            A.    Yes.

 10            Q.    Is this all content pertaining to                       12:41:35

 11    foreclosures?

 12            MS. ECK:     Object -- well, take a look at it.

 13            THE WITNESS:      Yes.

 14    BY MR. SCHNEIDER:

 15            Q.    Would you look at page 361.             There's a       12:41:52

 16    list here, and I believe -- first of all, is this

 17    handwriting all yours?

 18            A.    Yes.

 19            Q.    And the first word, does that say

 20    "leads"?                                                              12:42:08

 21            A.    Yes.

 22            Q.    And what is this referring to?

 23            A.    I'm not certain.

 24            Q.    Is the presenter telling you possible

 25    places to find leads to locate foreclosure                            12:42:19

                                                                            Page 83

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                                                                            Ex. 85 - 6070
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                                     107
  1    drawn an arrow from up at the top where it says                      12:44:26

  2    "Know your exit strategy," and then you bring the

  3    arrow down about wholesaling, flipping, renting?

  4             A.   I'm assuming it must be, yes.

  5             Q.   All right.     So, this was content that               12:44:37

  6    was provided to you during the seminar, correct?

  7             A.   Correct.

  8             Q.   Would you look at page 379.            Are those

  9    your notes at the top?

 10             A.   Yes.                                                   12:44:47

 11             Q.   Anything pertaining to those methods --

 12    sorry.    Let me try that again.

 13                  Is the information up in this square

 14    concerning the methods is your handwritten notes

 15    pertaining to that topic area?                                       12:44:58

 16             A.   Yes.

 17             Q.   And that was information that was

 18    provided to you during the three-day seminar?

 19             A.   Yes.

 20             Q.   Can you turn to page 381.           Are those          12:45:05

 21    your handwritten notes under the "Notes" section?

 22             A.   Yes.

 23             Q.   And is that pertaining to content that

 24    was provided to you during the seminar?

 25             A.   Yes.                                                   12:45:18

                                                                           Page 86

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                                                                           Ex. 85 - 6071
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6183 Page 52 of
                                     107
  1              Q.   If you'll look on page 384, that's an                  12:45:19

  2    example of running numbers, correct?

  3              A.   Yes.

  4              Q.   Would you look on page 386.

  5              A.   But this example doesn't tell you how to               12:45:41

  6    do this.

  7              MR. SCHNEIDER:     I'll move to strike as

  8    nonresponsive after "yes."

  9    BY MR. SCHNEIDER:

 10              Q.   Can you turn to page 386.           Are these          12:45:52

 11    your handwritten notes?

 12              A.   Yes.

 13              Q.   And is this pertaining to content that

 14    you received at the three-day seminar?

 15              A.   Yes.                                                   12:46:00

 16              Q.   Can you turn to page 391.           Actually,

 17    392.     392 and 393, are all of these your handwritten

 18    notes?

 19              A.   Yes.

 20              Q.   And do these all pertain to information                12:46:22

 21    that was provided to you during the three-day

 22    program?

 23              A.   I believe so.

 24              Q.   If you look on 393, there's a detail

 25    under "EX," I'm presuming that means example,                         12:46:33

                                                                            Page 87

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                                                                            Ex. 85 - 6072
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6184 Page 53 of
                                     107
  1    running numbers on that particular example, correct?                  12:46:36

  2            A.     Yes.   But again, there wasn't enough

  3    explanation.

  4            Q.     All right.     So, one of your criticisms

  5    was that you wanted more explanation than what was                    12:46:47

  6    provided, correct?

  7            A.     Yes.

  8            Q.     On 395, are those your notes?

  9            A.     Yes.

 10            Q.     All right.     If you could just page                  12:47:01

 11    through and look at 396 and 397, 398 and 399.                 Are

 12    all of those your handwritten notes?

 13            A.     Yes.

 14            Q.     And you had testified earlier that you

 15    are a college graduate.        Did you take notes when you            12:47:18

 16    went to college?

 17            A.     Yes.

 18            Q.     And was it your practice to record in

 19    notes information that you thought might be useful

 20    or that you'd want to remember later?                                 12:47:26

 21            A.     Yes.

 22            Q.     And is that the reason why you took

 23    notes at this seminar, to record the information in

 24    writing so you could go back and refer to it later?

 25            A.     Yes.                                                   12:47:37

                                                                            Page 88

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                                                                            Ex. 85 - 6073
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6185 Page 54 of
                                     107
  1            Q.   Can you turn to page 417.            If you'll          12:47:46

  2    look at 417, 418 and 419, are all of those your

  3    handwritten notes?

  4            A.   Yes.

  5            Q.   And are all of these notes from content                 12:48:05

  6    that was provided to you during the Fast Track

  7    program for the three days?

  8            A.   I mean, I know for sure 417.             I -- I

  9    believe the four of the two, looks like they were

 10    following.                                                           12:48:21

 11            Q.   Page 418 and 419?

 12            A.   Yeah, I believe so.          There's no --

 13    doesn't say "Fast Track."        So, if it's following in

 14    sequence, then yes.

 15            Q.   All right.      And any of these notes                  12:48:30

 16    pertain to any kind of selling that Trump University

 17    was trying to get you to purchase more goods or

 18    services?

 19            A.   No.

 20            Q.   Would you turn to page 449.             Are the         12:48:54

 21    notes on 449, 450 and 451 all of your handwriting?

 22            A.   Yes.

 23            Q.   And are these all notes of content that

 24    was being provided to you by the speaker at the Fast

 25    Track program?                                                       12:49:24

                                                                           Page 89

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                                     107
  1            A.   Yes.                                                    12:49:25

  2            Q.   Anything in those three pages of notes

  3    concerning any sales that Trump University was

  4    trying to get you to purchase, goods or services?

  5            A.   No.    The sales came on the third day.                 12:49:33

  6            Q.   All right.      Page 453, is all the

  7    handwriting on this page yours?

  8            A.   Yes.

  9            Q.   All right.      And it looks like this is

 10    entitled "How to find motivated sellers."              Did I         12:49:48

 11    read that correctly?

 12            A.   Yes.

 13            Q.   And it looks like Trump University

 14    provided you 14 different ideas or concepts about

 15    how to find motivated sellers, correct?                              12:49:58

 16            A.   Yes, in general terms.

 17            Q.   All right.      And you wrote those down to

 18    remember that information, correct?

 19            A.   So that someone could expand upon it in

 20    the future, yes.                                                     12:50:12

 21            Q.   If you'll look on page 456 and 457,

 22    those are your notes?

 23            A.   Yes.

 24            Q.   And that's -- those were some examples

 25    given with some -- some numbers --                                   12:50:37

                                                                           Page 90

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Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6187 Page 56 of
                                     107
  1              A.      Yes.                                                   12:50:39

  2              Q.      -- is that true?

  3                      So, you all were working through some

  4    examples, cranking some kind of numbers; is that

  5    accurate?                                                                12:50:45

  6              A.      Yes.

  7              Q.      Can you look at page 459.           Are those

  8    your notes?

  9              A.      Yes.

 10              Q.      Is this all content based on information               12:50:53

 11    provided to you by the speaker during the

 12    foreclosure program?

 13              A.      Yes.

 14              Q.      Page 464, it's entitled "Short Sale

 15    Example."        I'd like you to page through all the way                12:51:10

 16    to 469.        So, six pages.     Are all of those your

 17    notes?

 18              A.      Yes.

 19              Q.      And all these were taken by you or

 20    written by you during the three-day program,                             12:51:46

 21    correct?

 22              A.      That's correct.

 23              Q.      And all of these notes, these pertain to

 24    information that the speaker provided to you about

 25    the topics discussed during that -- that three days,                     12:51:55

                                                                               Page 91

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                                                                               Ex. 85 - 6076
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6188 Page 57 of
                                     107
  1    right, foreclosures and the other items we looked                     12:51:58

  2    at?

  3            A.    That's correct.

  4            Q.    Can you look at page 553.            That's a

  5    sample contract that Trump University provided to                     12:52:26

  6    you, correct?

  7            A.    Yes.

  8            Q.    Can you look at page 561.            That's a

  9    sample Assignment of Contract of Sale that they

 10    provided to you; is that correct?                                     12:52:42

 11            A.    Yes, but there was no explanation on any

 12    of these.

 13            Q.    They gave you the forms of the

 14    contracts, correct?

 15            A.    Yes.    But you have to know how to fill                12:52:50

 16    them out.    Therefore, you needed instruction on

 17    that, which was not provided.

 18            Q.    Can you turn to page 629.            Can you tell

 19    us what these notes pertain to?

 20            A.    I'm reading it.                                         12:53:26

 21                  I don't know.

 22            Q.    Do you know if they were taken by you

 23    during the Fast Track program?

 24            A.    I know this was my writing.             I don't

 25    know -- I don't believe it was during the Fast Track                  12:53:47

                                                                            Page 92

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                                                                            Ex. 85 - 6077
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                                     107
  1    because it would have been on, probably, hotel                       12:53:51

  2    letterhead that they gave us.

  3            Q.   Where was the program, what hotel?

  4            A.   The Fast Track?

  5            Q.   Yes.                                                    12:54:05

  6            A.   The -- Universal City, I believe

  7    possibly the Hilton.

  8            Q.   All right.      So, can you look at page

  9    633, which is four pages back from where you are?

 10            A.   Right.                                                  12:54:16

 11            Q.   That's on the Hilton stationery,

 12    correct?

 13            A.   Yes.

 14            Q.   Did you take any other Trump University

 15    programs at -- at a Hilton?                                          12:54:22

 16            A.   I can't say for sure.          There were

 17    numerous different hotels that we went to.

 18            Q.   Are you able to look at these

 19    documents -- or these pages, let's say, starting

 20    with 633 through 639, most of which have "Hilton" at                 12:54:35

 21    the top, and determine whether or not these were

 22    notes that you took at the Fast Track program?

 23            A.   I'll look at it now.          I believe these

 24    were taken at that seminar, yes.

 25            Q.   And are all these notes based on                        12:55:41

                                                                           Page 93

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Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6190 Page 59 of
                                     107
  1    information that you received from the speaker at                     12:55:42

  2    the Fast Track program?

  3            A.     I believe so.

  4            Q.     And all this is on content information,

  5    correct?     In other words, it's information that the                12:55:53

  6    speaker was providing to you about foreclosures?

  7            A.     That was incorrect.         Yes, that was

  8    incorrect.     The "profiting within 30, 90 days" on

  9    the last page is not correct.

 10            Q.     What do you mean, that's not correct?                  12:56:06

 11            A.     That you're promised to make tens of

 12    thousands of dollars a month within 30, 60 or 90

 13    days.   And it says right here, "Goals, 30 days, 90

 14    days, 12 months."

 15            Q.     All right.     So, the word "goals," does              12:56:18

 16    that -- does that mean the same thing to you as

 17    "guarantee"?

 18            A.     No.   But they verbally guaranteed that.

 19            Q.     They guaranteed what?

 20            A.     That you would profit with tens of                     12:56:27

 21    thousands of dollars a month within 30, 60, 90 days.

 22            Q.     Did you have a general understanding

 23    that to make a profit in real estate, you would have

 24    to do more than attend a seminar?

 25            A.     Of course.                                             12:56:40

                                                                            Page 94

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                                     107
  1                    UNITED STATES DISTRICT COURT
  2                 SOUTHERN DISTRICT OF CALIFORNIA
  3
  4     TARLA MAKAEFF, BRANDON KELLER,
  5     ED OBERKROM, and PATRICIA
  6     MURPHY, on Behalf of Themselves
        and All Others Similarly
  7     Situated,
  8                     Plaintiffs,
  9          vs.                                  No. 10 CV 0940 IEG (WVG)
 10     TRUMP UNIVERSITY, LLC, (aka
 11     Trump Entrepreneur Initiative) a
        New York Limited Liability
 12     Company, DONALD J. TRUMP, and
 13     DOES 1 through 50, inclusive,
 14                     Defendants.
 15     ___________________________________________________
 16
 17        CONTINUED VIDEOTAPED DEPOSITION of TARLA MAKAEFF
 18                         San Diego, California
 19                     Tuesday, January 31, 2012
 20                                   Volume II
 21
 22     Reported by:
        Kae F. Gernandt
 23     RPR, CSR No. 5342
 24     Job No. 133737
 25     PAGES 283 - 591

                                                                           Page 283

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                                     107
  1            Q.    So, if we just were to spend a second to                12:10:06

  2    page through, start at the beginning, let's say, on

  3    page 1078.

  4                  Are those your notes?

  5            A.    Yes.                                                    12:10:16

  6            Q.    Okay.   And then just keep paging

  7    through, a page at a time, and tell me if these are

  8    your notes.    And start back on 1091.

  9            A.    I mean, I'm on 1099, and everything so

 10    far -- I don't know how far you want me to go.                        12:11:03

 11            Q.    So, I suppose we could spot-check.

 12                  Will you look at 1116?

 13            A.    That's my writing.

 14            Q.    1117?

 15            A.    That's my writing.                                      12:11:17

 16            Q.    1128?

 17            A.    That's my writing.

 18            Q.    1140?

 19            A.    That's my writing.

 20            Q.    On page 1140, for example, are these                    12:11:40

 21    notes that you took about information that was

 22    provided to you concerning creative financing?

 23            A.    Yes.

 24            Q.    And is all of this content related to

 25    creative financing?                                                   12:11:49

                                                                           Page 398

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                                                                            Ex. 85 - 6081
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                                     107
  1            A.    Yes.                                                    12:11:52

  2            Q.    None of this is Trump University trying

  3    to sell any products or services, correct?

  4            A.    No, not at this point.

  5            Q.    All right.     Now, would you go back                   12:12:02

  6    to 1070 -- let's see.

  7            A.    10 --

  8            Q.    1085.    This is entitled "Agenda, Day 1,"

  9    and there are five bullet points.

 10                  Were all those items -- "The process of                 12:12:28

 11    getting the deal," "Packaging," "Creating your

 12    financial statement," the "20 different ways to

 13    finance a deal, Part 1," and the "1031 exchange" --

 14    were all of those discussed during the program?

 15            A.    I don't recall.       I don't believe we went           12:12:41

 16    over 20 different ways to finance a deal.              We may

 17    have gone over several.       That sounds like quite a

 18    few ways.    I don't think he covered that.

 19            Q.    All right.     Would you turn the page to

 20    "Agenda, Day 2."      There are five more bullet points,              12:12:54

 21    entitled "20 Different Ways to Finance a Deal,

 22    Part 2," "Find Money Partners in Your Hometown,"

 23    "Work with Mortgage Brokers," "20 Different Ways to

 24    Finance a Deal, Part 3," and "Work with Bank

 25    Lenders."                                                             12:13:11

                                                                           Page 399

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                                                                            Ex. 85 - 6082
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6194 Page 63 of
                                     107
  1                   Are those all your handwritten notes?                   02:16:11

  2             A.    Yes.

  3             Q.    And this is all information that you

  4    received during that three-day program?

  5             A.    Yes.   Going up to -- what page are you                 02:16:21

  6    looking at?

  7             Q.    Well, if you just page forward, are all

  8    of those handwritten notes yours?            Just keep turning

  9    as many pages as you want.

 10             A.    I -- yes.     It appears to be all my --                02:16:36

 11    I'm at 1333.

 12             Q.    All right.     Look at 1411.        Again, we'll

 13    just sort of spot-check here.

 14             A.    Yes.

 15             Q.    Are all those yours, on the next page,                  02:16:50

 16    yours?

 17             A.    The next page, yes.

 18             Q.    And the next page?

 19             A.    Yes.

 20             Q.    All right.     How about 1430?                          02:16:59

 21             A.    Yes.

 22             Q.    And just keep turning pages.

 23                   The next five or ten pages all yours?

 24             A.    Yes.

 25             Q.    This is all content that was provided to                02:17:22

                                                                            Page 474

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                                                                             Ex. 85 - 6083
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6195 Page 64 of
                                     107
  1    you during the seminar, correct?                                       02:17:24

  2             A.    Yes.

  3             Q.    No sales going on for services or

  4    products, right?

  5             A.    I don't see any, based on the pages I'm                 02:17:31

  6    looking at, no.

  7             Q.    All right.     Would you look at page 1538.

  8    You all were specifically walking through worksheets

  9    with numbers, correct?

 10             A.    Well, yes.     In this one, he was giving               02:17:51

 11    us -- it's not a specific example, but how we would

 12    complete something, yes.

 13             Q.    How you complete this worksheet, right?

 14             A.    Yes.

 15             Q.    And then if you keep turning the pages,                 02:18:05

 16    all this is information that was provided on how to

 17    fill out these sheets?

 18             A.    You know, I don't know that this came

 19    from this class.      I believe that this is actually --

 20    I'm fairly certain this did not come out of this                       02:18:21

 21    class.

 22                   This is what I created, I believe, when

 23    Rick and Mike were at my house because I asked them,

 24    because I created my own notes in generalities with

 25    percentages.     This is not from -- I'm pretty sure                   02:18:34

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                                     107

                                                                             Page 1
 1

 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4   ----------------------------------X
     TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
     all Others Similarly Situated,
 6

                     Plaintiffs,
 7

             v.
 8

     TRUMP UNIVERSITY, LLC, et al,
 9

                     Defendants.
10   ----------------------------------X
11

12                  VIDEOTAPED DEPOSITION
13                             OF
14                    CORINNE A. SOMMER
15                    New York, New York
16                Wednesday, November 7, 2012
17

18

19

20

21

22

23

24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54530

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                                                                    Ex. 86 - 6086
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6198 Page 67 of
                                     107

                                                                           Page 164
 1                               C. Sommer
 2          A.      No.
 3          Q.      Is that right?
 4          A.      Correct.
 5          Q.      At any time did you ask anybody for
 6   financial information that went to any of the
 7   programs other than them giving you a credit
 8   card to charge something?                 In other words, did
 9   you ask them to fill out financial information
10   about themselves?
11          A.      No.
12          Q.      Are you aware of anybody at Trump
13   University ever doing that?
14          A.      No.     There was the two guys in
15   Colorado, I don't know exactly what their scheme
16   was, but they were trying to get people to buy
17   into their company.            So I'm not sure what they
18   were asking those people to provide.
19          Q.      Okay.      Other than those two guys in
20   Colorado --
21          A.      No.
22          Q.      And that's for the free program, the
23   three-day workshop, all the ones that you went
24   to, right?
25          A.      Correct.

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                               EXHIBIT 87




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Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6200 Page 69 of
                                     107

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 1

 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4   ----------------------------------X
     TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
     all Others Similarly Situated,
 6

                     Plaintiffs,
 7

             v.
 8

     TRUMP UNIVERSITY, LLC, et al,
 9

                     Defendants.
10   ----------------------------------X
11

12                  VIDEOTAPED DEPOSITION
13                             OF
14                    CORINNE A. SOMMER
15                    New York, New York
16                Wednesday, November 7, 2012
17

18

19

20

21

22

23

24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54530

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                                     107

                                                                              Page 110
 1                                C. Sommer
 2          Q.      And then you all changed the
 3   enrollment form?
 4          A.      Yes.      After I brought up this issue,
 5   they actually made one that was coherent.
 6          Q.      How many different enrollment forms
 7   or contracts did you all use during your five
 8   months?
 9          A.      It was that one and then the new one.
10          Q.      And the 100 percent satisfaction
11   guarantee refund policy, was that in effect
12   during your entire five months?
13          A.      I believe so.
14          Q.      I may have asked you this earlier.                    I
15   just want to make sure.
16                  At any time while you were working at
17   Trump University, are you aware of anyone that
18   requested a refund that did not get a refund?
19                  MS. ECK:         Objection.             Asked and
20          answered.
21          A.      Not that I'm aware.
22          Q.      Typically at the free programs, what
23   would the size of the audience be?
24          A.      A few hundred.
25          Q.      And typically out of the few hundred,

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                               EXHIBIT 88




                                                                 Ex. 88 - 6091
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                                     107

  1                   UNITED STATES DISTRICT COURT
  2                SOUTHERN DISTRICT OF CALIFORNIA
  3
  4    TARLA MAKAEFF, BRANDON KELLER,
  5    ED OBERKROM, and PATRICIA
       MURPHY, on Behalf of Themselves
  6    and All Others Similarly
  7    Situated,
  8                                                No. 10 CV 0940 IEG (WVG)
  9         vs.        Plaintiffs,
10     TRUMP UNIVERSITY, LLC, (aka
       Trump Entrepreneur Initiative) a
11     New York Limited Liability
12     Company, DONALD J. TRUMP, and
13     DOES 1 through 50, inclusive,
14                     Defendants.
15     _________________________________________________________
16
17                    DEPOSITION of BRANDON KELLER
18                       San Diego, California
19                     Tuesday, January 17, 2012
20                                  Volume I
21     Reported by:
22     Kae F. Gernandt
       RPR, CSR No. 5342
23     Job No. 130453
24
25     PAGES 1 - 264

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                                                                           Ex. 88 - 6092
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6204 Page 73 of
                                     107
  1            Q.   That was a voluntary action by Trump                    03:52:57

  2    University, wasn't it?

  3            A.   Yes.

  4            Q.   Had nothing to do with you thinking that

  5    you got scammed; this was something that Trump                       03:53:03

  6    University did as a courtesy to you and your father,

  7    true?

  8            MS. ECK:    Objection.     Calls for speculation.

  9    BY MR. SCHNEIDER:

 10            Q.   It's something that Trump University                    03:53:11

 11    initiated and did for you and your father, correct?

 12            A.   They did it based on their concern, and

 13    that was my understanding.

 14            Q.   Right.

 15            A.   They did it based on their concern.                     03:53:19

 16            Q.   All right.     And then your father spoke

 17    with you about his conversation with Trump

 18    University and Paul, right?

 19            A.   He said Paul Reisner called him, and

 20    that's what he told me.                                              03:53:31

 21            Q.   And did he express his concern that you

 22    had gone to the three-day program without notifying

 23    him?

 24            A.   Yes.

 25            Q.   And he told you that he was concerned                   03:53:42

                                                                          Page 206

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Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6205 Page 74 of
                                     107
  1    about you signing up for the 35,000-dollar program?                    03:53:44

  2           A.      Yes.

  3           Q.      And he advised you that Trump University

  4    had agreed to fully refund your money, correct?

  5           A.      Yes.                                                    03:53:56

  6           Q.      Even though it was outside of the

  7    three-day period, correct?

  8           A.      Correct.

  9           Q.      In fact, that's what happened, isn't it?

 10           A.      Yes.                                                    03:54:01

 11           Q.      Trump University returned every penny of

 12    the $35,000?

 13           A.      Yes.

 14           Q.      Did you have any credit card expenses

 15    related to the $35,000?        In other words, did you                 03:54:06

 16    have any late penalties or fees or interest charges?

 17           A.      I don't recall because I -- I don't

 18    recall if they credited the cards before the

 19    payments were due.        If they did credit the cards

 20    before the payments were due, then no.              If they            03:54:22

 21    didn't, then yes.      But again, I can't remember the

 22    dates they credited the credit card, and that would

 23    determine if there was interest or no interest.

 24           Q.      As you sit here today, are you aware of

 25    any expense that you had to paid related to the                        03:54:37

                                                                            Page 207

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                               EXHIBIT 89




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                                     107

                                                                             Page 1
 1

 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4   ----------------------------------X
     TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
     all Others Similarly Situated,
 6

                     Plaintiffs,
 7

             v.
 8

     TRUMP UNIVERSITY, LLC, et al,
 9

                     Defendants.
10   ----------------------------------X
11

12                  VIDEOTAPED DEPOSITION
13                             OF
14                    CORINNE A. SOMMER
15                    New York, New York
16                Wednesday, November 7, 2012
17

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20

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23

24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54530

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                                                                    Ex. 89 - 6096
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6208 Page 77 of
                                     107

                                                                              Page 104
 1                                C. Sommer
 2          A.      Yes.
 3          Q.      And of the 20 events, how many of
 4   those would you say you actually listened to or
 5   watched?
 6          A.      I'd say at least 15.
 7          Q.      So roughly 75 percent?
 8          A.      Yeah.
 9          Q.      All right.           And those presentations
10   had different slides by different presenters?
11                  MS. ECK:         Objection.             Lacks
12          foundation.         Misstates the witness'
13          testimony.
14          A.      Some of them had different -- it
15   depended on the presentation.                      They were all
16   focused -- there were classes focused on
17   different things, but if some of the presenters,
18   if they didn't have slides when they came in,
19   for example, if they were doing a class on
20   foreclosure and the guy didn't have a PowerPoint
21   on foreclosure, he'd never taught it before,
22   they would give him, for example, Denise's
23   slides.
24          Q.      And if they did have their own
25   slides, they would use their own?

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                                                                        Ex. 89 - 6097
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6209 Page 78 of
                                     107

                                                                            Page 105
 1                                C. Sommer
 2          A.      Yes.
 3          Q.      Did you ever see any of them read
 4   from a script from a stage?
 5          A.      No.
 6          Q.      Did you ever see any of them have a
 7   script in their hand?
 8          A.      No.
 9          Q.      You said that there was different
10   courses being taught.
11                  Rattle off the different courses that
12   you can remember attending.
13                  You said foreclosure.
14                  What else did you see?
15          A.      The law one.             I didn't actually
16   attend it, but I know we were having -- I didn't
17   sit in any of J.J.'s classes, but I know that we
18   were doing it.         I don't remember any of the
19   names.
20          Q.      Was there one on tax liens?
21          A.      That may have been part of J.J.'s
22   presentation.
23          Q.      How about wealth preservation?
24          A.      That sounds familiar.
25          Q.      How about commercial real estate?

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                                                                      Ex. 89 - 6098
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6210 Page 79 of
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                                                                               Page 106
 1                               C. Sommer
 2          A.      I believe so, yes.
 3          Q.      And were there some basic courses and
 4   then some advanced courses in these topics?
 5          A.      No.     It was sort of I guess the more
 6   you signed up for, the more advanced it was
 7   supposed to be, but it was really, you know,
 8   different topics.           I don't think it was more
 9   advanced.      You were just getting a different
10   topic that you signed up for.
11          Q.      And did the presenters appear to you
12   to stay on topic?           If you went to a tax lien
13   program, did they talk about tax liens?
14          A.      Yeah.      I don't think they gave all
15   the information because it's sort of the up-sell
16   at the end, you'll get more information if you
17   buy into the next package.
18          Q.      But based on the programs you saw,
19   was it all content?
20                  MS. ECK:        Objection.             Vague.    Lacks
21          foundation.
22          A.      No, I don't think it was all content.
23          Q.      So how would you describe the
24   programs?
25          A.      It was -- there was some content and

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                                                                         Ex. 89 - 6099
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6211 Page 80 of
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                            EXHIBIT 90
                      Pages: 6100-6104


                      [Filed Conditionally
                          Under Seal]
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                               EXHIBIT 91




                                                                 Ex. 91 - 6105
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6213 Page 82 of
                                     107

                                                                             Page 1
 1                  UNITED STATES DISTRICT COURT
 2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 3   ____________________________________
                                          )
 4   TARLA MAKAEFF, BRANDON KELLER,       )
     ED OBERKROM, and PATRICIA MURPHY,    )
 5   on Behalf of Themselves and All      )
     Others Similarly Situated,           )
 6                                        )
                   Plaintiffs,            ) Case No.
 7                                        ) 10 CV 0940 CAB (WVG)
               vs.                        )
 8                                        )
     TRUMP UNIVERSITY, LLC, (aka Trump    )
 9   Entrepreneur Initiative) a New       )
     York Limited Liability Company,      )
10   DONALD J. TRUMP, and DOES 1          )
     through 50, inclusive,               )
11                                        )
                   Defendants.            )
12   ____________________________________)
13
14
15              Videotaped Deposition of Sonny Low
16              taken at 655 West Broadway, Suite 1900,
17              San Diego, California, commencing at
18              9:23 a.m., on Thursday, October 4, 2012,
19              before Kimberly S. Thrall, RPR, CSR No. 11594.
20
21
22
23   Reported by:     Kimberly S. Thrall, RPR, CSR. No. 11594
24                    Job No. 54028
25


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                                                                    Ex. 91 - 6106
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6214 Page 83 of
                                     107

                                                                            Page 114
 1   the piece of paper in terms of what he was talking to
 2   you about?
 3        A.    Let me answer to you this way.
 4        Q.    Sir, I -- I just want you to answer my
 5   question, not what you want to answer.
 6              Did you see --
 7        A.    He left me --
 8        Q.    Excuse me.
 9        A.    He left me a post-mentor action plan.
10        Q.    Okay.    I'm not talking about that.                What --
11        A.    I want to talk about that --
12        Q.    Sir --
13        A.    -- because --
14        Q.    Mr. Low --
15        A.    -- that is what he left me.
16        Q.    Okay.    Mr. Low --
17              MS. ECK:      I think maybe we need to take a
18   break.
19              MR. SCHNEIDER:          I just want to finish this
20   area.
21   BY MR. SCHNEIDER:
22        Q.    Did you see any kind of script that he worked
23   through that he would stuck to, he would only talk about
24   the items on a piece of paper during your three-day
25   mentorship?


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                                                                      Ex. 91 - 6107
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6215 Page 84 of
                                     107

                                                                               Page 115
 1        A.     No.
 2        Q.     Did you go to Home Depot at any time with your
 3   mentor?
 4        A.     No.
 5        Q.     Did he ever ask you to go to Home Depot or any
 6   type of facility like Home Depot?
 7        A.     No.
 8               MR. SCHNEIDER:            All right.           Let's take a
 9   break.
10               THE VIDEOGRAPHER:            Off the record at 1:03 p.m.
11               (The luncheon recess was taken at 1:03 p.m.)
12

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                                                                        Ex. 91 - 6108
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6216 Page 85 of
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                               EXHIBIT 92




                                                                 Ex. 92 - 6109
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6217 Page 86 of
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                                                                             Page 1
 1                  UNITED STATES DISTRICT COURT
 2           FOR THE SOUTHERN DISTRICT OF CALIFORNIA
 3   ____________________________________
                                          )
 4   TARLA MAKAEFF, BRANDON KELLER,       )
     ED OBERKROM, and PATRICIA MURPHY,    )
 5   on Behalf of Themselves and All      )
     Others Similarly Situated,           )
 6                                        )
                   Plaintiffs,            ) Case No.
 7                                        ) 10 CV 0940 CAB (WVG)
               vs.                        )
 8                                        )
     TRUMP UNIVERSITY, LLC, (aka Trump    )
 9   Entrepreneur Initiative) a New       )
     York Limited Liability Company,      )
10   DONALD J. TRUMP, and DOES 1          )
     through 50, inclusive,               )
11                                        )
                   Defendants.            )
12   ____________________________________)
13
14
15              Videotaped Deposition of Joann Everett
16              taken at 655 West Broadway, Suite 1900,
17              San Diego, California, commencing at
18              9:31 a.m., on Wednesday, October 3, 2012,
19              before Kimberly S. Thrall, RPR, CSR No. 11594.
20
21
22
23
24   Reported by:     Kimberly S. Thrall, RPR, CSR. No. 11594
25                    Job No. 54027

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                                                                    Ex. 92 - 6110
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6218 Page 87 of
                                     107

                                                                             Page 234
 1   detailed questions of mentors because I never got the
 2   program off the ground.
 3        Q.    And I gather that you didn't attempt to make
 4   any investments?
 5        A.    No, I did not.
 6        Q.    You didn't buy any property?
 7        A.    I didn't buy any property.
 8        Q.    During the free program that you went to, did
 9   the instructor use any kind of written script that you
10   could see?     Did he have any kind of document in his hand
11   it looked like he was reading from?
12        A.    You know, that is a -- I remember a slide
13   presentation, but I don't remember all the content
14   and -- and I -- I mean, he had a -- a ped- -- what do
15   you call those things?
16              MS. ECK:      A PowerPoint?
17              THE WITNESS:         No.      A --
18              MS. ECK:      Oh.     A pedestal?
19              THE WITNESS:         A pedestal.            So he could have had
20   written notes.      I -- I don't remember.
21   BY MR. SCHNEIDER:
22        Q.    Okay.    Nothing that you saw?
23        A.    Nothing that I saw.
24        Q.    And during the three-day -- well, during the
25   free program, did -- was there any discussion about


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                                                                       Ex. 92 - 6111
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6219 Page 88 of
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                               EXHIBIT 93




                                                                 Ex. 93 - 6112
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6220 Page 89 of
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                                                                          Page 1
 1                    UNITED STATES DISTRICT COURT

 2             FOR THE SOUTHERN DISTRICT OF CALIFORNIA

 3   ____________________________________
                                         )
 4   TARLA MAKAEFF, BRANDON KELLER,       )
     ED OBERKROM, and PATRICIA MURPHY,   )
 5   on Behalf of Themselves and All      )
     Others Similarly Situated,          )
 6                                        )
                  Plaintiffs,            ) Case No.
 7                                        ) 10 CV 0940 CAB (WVG)
               vs.                       )
 8                                        )
     TRUMP UNIVERSITY, LLC, (aka Trump   )
 9   Entrepreneur Initiative) a New       )
     York Limited Liability Company,     )
10   DONALD J. TRUMP, and DOES 1         )
     through 50, inclusive,              )
11                                       )
                  Defendants.            )
12   ____________________________________)

13

14

15              Videotaped Deposition of John Brown

16              taken at 655 West Broadway, Suite 1900,

17              San Diego, California, commencing at

18              9:18 a.m., on Monday, October 8, 2012,

19              before Kimberly S. Thrall, RPR, CSR No. 11594.

20

21

22

23

24   Reported by:     Kimberly S. Thrall, RPR, CSR. No. 11594

25                    Job No. 54027

                                                                 Ex. 93 - 6113
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6221 Page 90 of
                                     107

                                                                        Page 21
 1        Q.    Okay.    So what did you think of the free

 2   program?

 3        A.    It was -- I'm trying to remember now.          I think

 4   it was exciting.      I was glad to be there because I felt

 5   that it was a brand-new opportunity for me to expand my

 6   investing experience.

 7        Q.    Do you remember who the speaker was?

 8        A.    Jim Harris was the speaker that day.

 9        Q.    And what did Mr. Harris tell you about his

10   background in real estate?

11        A.    He told us that he was very successful, showed

12   us -- I believe he showed us a picture of his house,

13   talked a great deal about his children and how life was

14   so good for him.

15        Q.    Did it appear that he was reading from any type

16   of script?

17        A.    No.

18        Q.    And I'm sorry if I already asked you this.            Did

19   you attend that program alone?

20        A.    Yes.

21        Q.    How many people would you estimate were in the

22   free program?

23        A.    An estimate -- it wasn't a big room.          I would

24   say 50, 40 to 50.

25        Q.    Were there any other speakers besides


                                                                 Ex. 93 - 6114
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                               EXHIBIT 94




                                                                 Ex. 94 - 6115
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                                     107

                                                                             Page 1
 1

 2                  UNITED STATES DISTRICT COURT
 3                  SOUTHERN DISTRICT OF NEW YORK
 4   ----------------------------------X
     TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and               Case No. 3:10-CV-00940-CAB(WVG)
     all Others Similarly Situated,
 6

                     Plaintiffs,
 7

             v.
 8

     TRUMP UNIVERSITY, LLC, et al,
 9

                     Defendants.
10   ----------------------------------X
11

12                  VIDEOTAPED DEPOSITION
13                             OF
14                    CORINNE A. SOMMER
15                    New York, New York
16                Wednesday, November 7, 2012
17

18

19

20

21

22

23

24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54530

                         TSG Reporting - Worldwide   877-702-9580
                                                                    Ex. 94 - 6116
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6224 Page 93 of
                                     107

                                                                            Page 105
 1                                C. Sommer
 2          A.      Yes.
 3          Q.      Did you ever see any of them read
 4   from a script from a stage?
 5          A.      No.
 6          Q.      Did you ever see any of them have a
 7   script in their hand?
 8          A.      No.
 9          Q.      You said that there was different
10   courses being taught.
11                  Rattle off the different courses that
12   you can remember attending.
13                  You said foreclosure.
14                  What else did you see?
15          A.      The law one.             I didn't actually
16   attend it, but I know we were having -- I didn't
17   sit in any of J.J.'s classes, but I know that we
18   were doing it.         I don't remember any of the
19   names.
20          Q.      Was there one on tax liens?
21          A.      That may have been part of J.J.'s
22   presentation.
23          Q.      How about wealth preservation?
24          A.      That sounds familiar.
25          Q.      How about commercial real estate?

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                                                                      Ex. 94 - 6117
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6225 Page 94 of
                                     107

                                                                               Page 280
 1                              C. Sommer
 2          Q.      Paragraph 9, "Trump University used a
 3   standardized PowerPoint presentation..."
 4                  I believe we talked about this
 5   earlier, but that's not true, is it?
 6                  MS. ECK:       Objection.             Misstates the
 7          witness' testimony.             Asked and answered.
 8          A.      Each event had different -- a
 9   different presentation for each event.                         And if
10   the presenter had their own, they would use
11   that, and if they didn't have it, they were
12   given one to use.
13          Q.      And the next part of that says,
14   "...and scripts were used for all seminars."
15                  That's not true, is it?
16                  (Document review.)
17                  MS. ECK:       Objection.             Lacks
18          foundation.
19          A.      I think that has to do with the
20   presentation, what we just spoke about.
21          Q.      Okay.     But there were no scripts that
22   you ever saw, right?
23          A.      It wasn't a script, but I think
24   that's in the sense of if you're given someone
25   else's PowerPoint presentation to use, it's sort

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                                                                         Ex. 94 - 6118
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6226 Page 95 of
                                     107

                                                                           Page 281
 1                               C. Sommer
 2   of a script because you're being told what to
 3   present on.
 4          Q.      Al right.         So you separated this,
 5   though, into PowerPoint presentations and
 6   scripts.
 7                  So with regard to the scripts, you're
 8   not aware of any scripts, are you?
 9          A.      No.    It was just the script of the
10   PowerPoint presentation.                That's what was meant.
11   It wasn't specifically a separate script.
12          Q.      And we've already covered the line
13   about that the seminars were standardized and
14   substantially the same across the country,
15   right, we've already talked about that?
16                  Do you have any more or different
17   information than what we've already talked
18   about?
19          A.      I don't believe so.
20          Q.      Paragraph 10, "Trump University did
21   not provide one year of real estate mentoring as
22   promised to the public."
23                  Since you were only working for Trump
24   University for five months, you don't have any
25   idea whether or not they provided one year of

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                                                                     Ex. 94 - 6119
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6227 Page 96 of
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                               EXHIBIT 95




                                                                 Ex. 95 - 6120
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6228 Page 97 of
                                     107

                                                                             Page 1
 1   UNITED STATES DISTRICT COURT
 2   SOUTHERN DISTRICT OF CALIFORNIA
 3   ----------------------------X
 4   TARLA MAKAEFF, et al., on
 5   Behalf of Themselves and All
 6   Others Similarly Situated,
 7                      Plaintiffs,
 8          -vs-                                No. 3:10-CV-00940-CAB
 9   TRUMP UNIVERSITY,          LLC,
10   et al,
11                      Defendants.
12   ----------------------------X
13

14   VIDEOTAPED DEPOSITION OF RONALD DAVID SCHNACKENBERG
15                   San Francisco, California
16                        October 15, 2012
17

18

19

20

21

22

23   Reported by:
     Bonnie Pruszynski, RMR, CSR No. 13064
24   JOB NO. 54291
25



                         TSG Reporting - Worldwide   877-702-9580
                                                                    Ex. 95 - 6121
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6229 Page 98 of
                                     107

                                                                               Page 97
 1   higher-priced programs?
 2           A        I did not -- oh, I might have sold
 3   one.
 4           Q        Because you thought it was a good
 5   fit?
 6           A        Correct.         I -- yeah, I did.            I
 7   believe I sold one.           I can't remember if the
 8   second person ever ended up purchasing or not.
 9           Q        After the live event, were you
10   provided any kind of script in terms of what you
11   were supposed to say to people that you contacted?
12           A        I was not, no.
13           Q        After you left Trump University, what
14   did you do?
15           A        I -- I hung out in Central Park, just
16   tried to figure out what to do next.
17                    I didn't have -- have an immediate
18   plan of what I was going to do when I left.
19           Q        And when did you develop a plan?
20           A        I'm still planning.                  I just graduated
21   from business school.
22           Q        Did you obtain your license?
23           A        I did.
24           Q        When did you obtain that?
25           A        I don't recall, sometime after --

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                                                                        Ex. 95 - 6122
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6230 Page 99 of
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                            EXHIBIT 96




                                                                 Ex. 96 - 6123
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6231 Page 100 of
                                     107

                                                                              Page 1
 1

 2                   UNITED STATES DISTRICT COURT
 3                   SOUTHERN DISTRICT OF NEW YORK
 4

     ----------------------------------X
 5   TARLA MAKAEFF, et al., on
     Behalf of Themselves and                Case No. 3:10-CV-00940-CAB(WVG)
 6   all Others Similarly Situated,
 7                    Plaintiffs,
 8           v.
 9   TRUMP UNIVERSITY, LLC, et al,
10                    Defendants.
     ----------------------------------X
11

12

13                   VIDEOTAPED DEPOSITION
14                              OF
15                     JASON NICHOLAS
16                    New York, New York
17                Thursday, November 8, 2012
18

19

20

21

22

23

24   Reported by:
     ANNETTE ARLEQUIN, CCR, RPR, CRR, CLR
25   JOB NO. 54531


                          TSG Reporting - Worldwide   877-702-9580
                                                                     Ex. 96 - 6124
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6232 Page 101 of
                                     107

                                                                            Page 47
 1                             J. Nicholas
 2    stuff.
 3                  Anything else, if there was anything
 4    else, it was something like, you know, hey, what
 5    time for lunch or something stupid like that,
 6    but nothing -- no documents or nothing other
 7    than that.
 8          Q.      All right.          So the only document that
 9    you would have sent from work to your home
10    computer would be the script.
11          A.      To my knowledge, yes.
12          Q.      All right.          And in response to this
13    request for documents, I received a formal
14    response from Ms. Eck and in response to the
15    category which asked for any scripts, let me see
16    if I can find it, No. 25 and 26, "Any and all
17    scripts provided by Trump University and "Any
18    and all scripts required by Trump University"
19    and "Any and all scripts you used while working
20    at Trump University," No. 27, she said that you
21    were going to produce documents and she produced
22    one document, so I'm going to show you what that
23    is.   I've marked it as Exhibit 2.
24                  (Defendants' Exhibit Nicholas 2,
25          Script, Bates stamped TU-NICHOLAS0000001

                          TSG Reporting - Worldwide   877-702-9580
                                                                     Ex. 96 - 6125
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6233 Page 102 of
                                     107

                                                                            Page 48
 1                             J. Nicholas
 2          through 0002, marked for identification, as
 3          of this date.)
 4                  (Document review.)
 5    BY MR. SCHNEIDER:
 6          Q.      Is that the script that you're
 7    referring to?
 8          A.      I mean if -- unless you guys did some
 9    editing, I sent it to her and it's printed out.
10    I mean it is what it is.               Looking at it right
11    now when I see, you know, blah, blah.
12                  MS. ECK:        I'll represent that that's
13          the document you sent to us.
14                  THE WITNESS:            Okay.
15          A.      Well, that's if -- like I say, unless
16    you -- I'm not trying to -- it's not a big deal,
17    but if there was anything altered to my
18    knowledge, but if you want me to read through it
19    and check to make sure.
20          Q.      Sure.
21          A.      Okay.
22                  (Document review.)
23          A.      Just generally skimming through it,
24    it's absolutely what I produced, yes.
25          Q.      All right.          And this is the script

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                                                                     Ex. 96 - 6126
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6234 Page 103 of
                                     107

                                                                            Page 49
 1                             J. Nicholas
 2    that --
 3          A.      Other than when it says, "My name is
 4    Jason Nicholas," you know, obviously that was
 5    blank for anyone to say, you know, their
 6    personal name, but yeah, this is the script.
 7          Q.      All right.          And this is the one that
 8    you were required to follow word for word.
 9          A.      Absolutely.           We were pounded in our
10    head that Mr. Trum -- whoever like I said, I
11    don't know who writes the checks behind closed
12    doors, but whoever paid for this, we were told
13    that this has been psychologically tested and
14    that it costs several thousand, I don't know the
15    exact figure, by somebody to basically create
16    this script, and that if we weren't on it, I
17    mean when I got hired the training groups, we
18    spent five to ten business days in a conference
19    room, you know, pounding this script, so when we
20    actually got onto a live phone, you better be
21    reading the script or else it's going to be a
22    problem, so this is what everybody used, yes.
23          Q.      So this Exhibit 2, this is what you
24    said word for word to the people you talked to
25    on the phone?

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                                                                     Ex. 96 - 6127
Case 3:10-cv-00940-GPC-WVG Document 143-2 Filed 11/30/12 PageID.6235 Page 104 of
                                     107

                                                                             Page 50
 1                             J. Nicholas
 2          A.      Were required to, yes, that's what we
 3    were required to do.
 4          Q.      All right.          And you didn't deviate
 5    from this script.
 6          A.      No, sir.        I mean listen, if you're
 7    asking me if I said "the" or I said "is" or
 8    something like that, then obviously that's just
 9    personal, you know, that's just the human
10    element, but I mean this is it.
11          Q.      All right.          We'll talk about that in
12    a few minutes.
13          A.      Okay.
14          Q.      When you began working at Trump
15    University, how many other people were in the
16    sales department?
17          A.      Well, that's funny.                  It's funny you
18    mention that.       When you say started working,
19    basically -- can I -- am I allowed to just recap
20    real quick?
21          Q.      Sure.
22          A.      When I was called in for an
23    interview, Mr. Schnackenberg, or however you
24    pronounce his name, was there, interviewed me in
25    a conference room, took me on a quick tour of

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